Case 1:20-cv-00524-MKV Document 28 Filed 03/09/21 Page 1 of 1

 

 

 

 

U.S. Department of Justice PROCESS RECEIPT AND RETURN
United States Marshals Service See "Instructions for Service of Process by US. Marshal”

PLAINTIFF COURT CASE NUMBER

Primyah Godial Miaa Paynes El Bey 20cv524

DEFENDANT TYPE OF PROCESS

Crocillo et al Summons & Cotpplaint =

 

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY 8 SEIZE CONDEMN
SERVE Officer Crocillo MTA Police Officer Badge 2477 ‘

 

  

 

 

 

 

 

S
AT ADDRESS (Street or RFD, Apartment No,, City, State and ZIP Cade) —
MTA Police District 4. 1 Pennsylvania Plaza New York, NY 10601 ne oo
SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process bbe: os zz may
served with this Fon 285, 9 —™ ren,
Primyah Godial Miaa Paynes El Bey Number of partiestotel!' SJ oy
40 Ann Street , served in this case co ta we
#2BA Check for service 9 24 j=") oS
New York, NY 19038 on U.S.A. mi

 

 

SPECLAL INSTRUCTIONS OR GTTIER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (faciude Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

 

Signature of Attomey other Originator requesting service on behalf of: [x] PLAINTIFE TELEPHONE NUMBER DATE

Signal f
fA Cl DEFENDANT 1 1/1 7/2020
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE... aM
[ acknowledge receipt for the total Total Process | District of District to Signature of Authorized USMS Depuly or Clerk;* : Date , » ‘
number of process indicated. Origip,. Serve ZS i om
(Sign only for USM 285 if more ? A ‘ LE id
than one USM 285 is submitted) tk No, No. OS : NOV 1 g 2020 ‘
I hereby certify and retum that 1 [7] have personally served , (7) have legal evidence of service, [] have executed as shown in "Remark? ; splocess described on the vad
individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, elc. shown al the address inserté a cee

 

 

 

EO dea

 

 

 

 

 

   
 

 

 

rd i hereby certify and retum thal [ am unable to locate the mdividual, company, corporation, etc. named above (See remarks below)

 

 

 

‘Name and title of individual served (ifnot shown above) Dale Time {] am
2 wut / 3 ot v 7X pm
Address (complete only different than shown above) Signature of U.S. Marshat or Deputy
pane ficiilprsp
3172?

 

 

Service Fee Total Mileage Charges Forwarding Fee Total Charges Advance Deposits | Amount owed to U.S. Marshal* or
(including endeavors) (Amount of Refund*)

bp 8 2-42 969A.

NOV 4 # 2020 . Se) UP Pow mal. Ser pice
cant t “Pp for FLE
JAN-1-# 2021

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Form USM-285

PRIOR VERSIONS OF THIS FORM ARE OBSOLETE 40 _ ¢ ay ( Rev. 11/18

 

 

 
